       Case 2:18-cr-00102-LRS           ECF No. 138         filed 10/02/20      PageID.2360 Page 1 of 3
 PROB 12C                                                                              Report Date: October 2, 2020
(6/16)

                                        United States District Court                                       FILED IN THE
                                                                                                       U.S. DISTRICT COURT
                                                                                                 EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                                  Oct 02, 2020
                                        Eastern District of Washington
                                                                                                      SEAN F. MCAVOY, CLERK


                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Timothy James Felch                       Case Number: 0980 2:18CR00102-LRS-2
 Address of Offender:                                                               WA, 99260
 Name of Sentencing Judicial Officer: The Honorable Lonny R. Suko, Senior U.S. District Judge
 Date of Original Sentence: July 22, 2019
 Original Offense:        Conspiracy to Distribute Controlled Substances, 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(C),
                          (b)(2)
 Original Sentence:       Prison - 398 Days;                 Type of Supervision: Supervised Release
                          TSR - 36 Months
 Asst. U.S. Attorney:     George JC Jacobs, III              Date Supervision Commenced: July 24, 2019
 Defense Attorney:        Federal Public Defender            Date Supervision Expires: July 23, 2022


                                          PETITIONING THE COURT

                To issue a WARRANT.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Mandatory Condition #1: You must not commit another federal, state or local crime.

            2           Standard Condition #10: You must not own, possess, or have access to a firearm,
                        ammunition, destructive device or dangerous weapon (i.e., anything that was designed, or
                        was modified for, the specific purpose of causing bodily injury or death to another person
                        such as nunchakus or tasers).

                        Supporting Evidence: Mr. Felch is alleged to have violated mandatory condition number
                        1 and standard condition number 10 by having in his possession on October 1, 2020, and
                        based on his admission and witnesses’ testimony, an approximate 3-foot long sword, and by
                        being arrested on the day in question for Weapon Brandishing or Intimidating, in violation
                        of R.C.W. 9.41.270, a Gross Misdemeanor.

                        Specifically, on October 1, 2020, at approximately 6:22 p.m., the undersigned officer began
                        receiving a series of automated law enforcement notifications indicating the client’s name
                        was being run by law enforcement. Due to the number of notifications received, the
                        undersigned officer attempted to contact the client on his cell phone, ultimately leaving both
                        a voice mail and sending the client a text message requesting a return call. The undersigned
                        officer then contacted the client’s previous girlfriend and sponsor who noted the client had
     Case 2:18-cr-00102-LRS           ECF No. 138         filed 10/02/20       PageID.2361 Page 2 of 3
Prob12C
Re: Felch, Timothy James
October 2, 2020
Page 2

                     been deteriorating for approximately the last 6 months and she had in fact recently been
                     staying with a friend in an effort to avoid the client. The contact advised that with the
                     assistance of a friend, she had traveled to her residence on the night in question at which time
                     the client was present and was in possession of a “sword.” The contact advised she was
                     unsure as to where the client had secured the weapon, and had not seen it in the residence
                     prior to that evening. The contact noted that an argument ensued based on the poor state in
                     which her residence was in, at which time her friend advised the client was disrespecting her
                     and the client drew the sword and “lunged “ toward her. The contact noted that she was in
                     between the parties and advised the client that he “better not,” following which she contacted
                     law enforcement. The contact advised the client then left the residence prior to law
                     enforcement arriving, but did note during discussion with the undersigned officer, and during
                     another incoming call, that the client had since been arrested.

                     On October 2, 2020, the police report relative to case number 2020-20173273 was received
                     by the U.S. Probation Office. According to the report received, on October 1, 2020, law
                     enforcement responded to a report of a domestic violence related incident located at the
                     client’s residence. Upon arrival, officers made contact with the client’s previous sponsor and
                     girlfriend who provided a similar statement to officers as to that previously provided to the
                     undersigned officer. Specifically, the contact indicated she had been temporarily staying
                     away from her residence due to the client having become “erratic” and due to her fear of
                     being hurt by him. The contact advised she had returned on the night in question to secure
                     some personal belongings with a friend, at which time an argument ensued when she asked
                     the client to take out the trash. The client at that time then accessed a “3 foot sword” on his
                     belt, and pulled it partially out displaying it. The sponsor’s friend then advised the client that
                     he was being disrespectful to his previous girlfriend, at which time he drew the sword and
                     lunged toward the parties. The contact then contacted law enforcement to report the incident
                     and described the client as being dressed as a female and as wearing chain mail.

                     Officers were subsequently able to locate the client walking in the community, at which time
                     the client admitted to possessing the sword and to initially revealing it and ultimately
                     drawing it on the parties, but indicated that it was in fact his previous girlfriend’s friend who
                     was in fact “hostile” and had in fact “came at him.” The client indicated he had placed the
                     sword in the back of his girlfriend’s vehicle upon leaving the residence. The officer returned
                     to the scene and located a “large long sword in a black leather sheath” as being present in the
                     back of the vehicle as described. The item was subsequently placed into evidence. A large
                     chain mail shirt was additionally located in a blue backpack carried by the client at the time
                     he was contacted by law enforcement.

                     Mr. Felch was arrested on the day in question by the Spokane Police Department as a result
                     of his alleged conduct as outlined herein with charges now being recommended for weapon
                     brandishing or intimidating.

The U.S. Probation Office respectfully recommends the Court issue a WARRANT requiring the offender to appear
to answer to the allegation(s) contained in this petition.
     Case 2:18-cr-00102-LRS     ECF No. 138       filed 10/02/20      PageID.2362 Page 3 of 3
Prob12C
Re: Felch, Timothy James
October 2, 2020
Page 3

                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                   Executed on:      October 2, 2020
                                                                     s/Chris Heinen
                                                                     Chris Heinen
                                                                     U.S. Probation Officer



 THE COURT ORDERS

 [   ]    No Action
 [   ]    The Issuance of a Warrant
 [   ]    The Issuance of a Summons
 [   ]    Other

                                                                     Signature of Judicial Officer
                                                                    October 2, 2020
                                                                     Date
